Case 2:14-cv-10853-SFC-RSW ECF No. 6 filed 07/14/14                    PageID.13     Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

                                                 :
Tameka Grays,                                    :
                                                 : Civil Action No.: 2:14-cv-10853-SFC-RSW
                       Plaintiff,                :
       v.                                        :
                                                 :
Comenity LLC,                                    : NOTICE OF WITHDRAWAL WITH
                                                 : PREJUDICE
                       Defendant.                :
                                                 :
                                                 :


            NOTICE IS HEREBY GIVEN, by the undersigned, that the above entitled action is

voluntary dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), without costs to

any party as against the other under the terms of a settlement agreement and general release.


Dated: July 14, 2014                         Respectfully submitted,

                                             By: /s/ Sergei Lemberg, Esq.
                                             Attorney for Plaintiff Tameka Grays
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                                CERTIFICATE OF SERVICE

     I hereby certify that on July 14, 2014, a true and correct copy of the foregoing Notice of
Withdrawal with Prejudice was served electronically by the U.S. District Court Eastern District
of Michigan Electronic Document Filing System (ECF), which sent notice of such filing to the
following:

Chad V. Echols
The Echols Firm, LLC
115 Oakland Ave., Suite 102 (29730)
P.O. Box 12645
Rock Hill, South Carolina 29731


                                                      /s/ Sergei Lemberg
                                                      Sergei Lemberg
